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       Google Chat Retention FAQs
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       Frequently Asked Questions

       Will docs and links shared in Chat spaces disappear after the retention period (like messages) or
       will they remain?

          Uploaded and linked docs available in the Files tab are associated with the messages that
          originally introduced them to the Chat space, so they will disappear from the space at the same
          time as their associated messages.

          For docs linked in (rather than uploaded into) the Chat space, they will still be available in their
          original location after the retention period expires-just not within the Chat UI / Files tab. Docs
          uploaded directly into the Chat space will not be available elsewhere.
                                                                                   \

             Example: If someone links a Google Doc in your space and shares that doc with you, then you'll maintain
             access to that doc in Drive even when the associated Chat message disappears.




       What if I am subject to a legal hold?

          Please see the guidance in the "Legal Holds" section on the Google Chat Retention Policy
          page.


       What if I have a business need to retain messages for longer than the applicable retention period?

          Consider storing critical business information in a different medium or location when longer
          retention periods are required. Check with your manager if you are not sure what qualifies as
          business information and the duration for which you should retain such data.


       Under what circumstances should history settings be turned on in Chat?

          The History ON setting should only be used in the following circumstances:

          • When you need to reference the contents of a message at a later date for business-critical
            reasons.
          • When you are discussing a topic identified in any legal hold notice you've received.

          Turning history "on" or "off" applies only to messages sent after that change. For example, if you
          send or receive messages while history is "off" and then you turn it "on," the pre-existing
          messages will only be retained for 24 hours.

          Consider storing critical business information in a different medium or location when longer
          retention periods are required. Check with your manager if you are not sure what qualifies as
          business information and the duration for which you should retain such data.


       Does the retention policy apply to my personal account?

          No. The Chat retention policy is specific to Google corporate data (your @google.com or other
          Alphabet account) and doesn't apply to any users outside of Alphabet, including your personal
          @gmail.com account. In other words, you will need to keep this retention policy in mind as you


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          manage your corporate emails, but you don't have to change any behavior for your personal
          account.


      Where can I find more information about Chat Retention?

          Please visit the Google Chat Retention Policy                page.


      Can I change my history defaults?

          Yes, but be mindful about the risks of over-retaining chat conversations (see go/infogov ). If you
          still wish to change your personal default setting so that conversations you start have History On
          by default, you can do so by joining the group g/chat-history-default-on. (Members of our
          extended workforce can join the group by emailing chat-history-default­
          on+subscribe@google.com; see go/add-me for more details.) Once you have joined, any 1:1 or
          group chat that you create will start with History On. Please note that conversations started by
          non-group-members will still start with History Off (unless in a threaded space, where history is
          always forced On).



                                                       Google Chat Retention Policy




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